     Case 1:17-cv-02653-RDM Document 41 Filed 05/21/21 Page 1 of 7




UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

NASEEM S. STANAZI,
                                                      Civil Action No.: 17-2653 (RDM)

                                 Plaintiff,
v.

BROADCASTING                BOARD             OF
GOVERNORS


                                 Defendant.


                 Opposition to Defendant’s Motion for Summary Judgment


       Plaintiff submits the following in opposition to Defendant’s Motion for Summary

Judgment.

                                              STANDARD

       Summary judgment is only appropriate when the evidence is “so one-sided that one party

must prevail as a matter of law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986).

.Credibility determinations, the weighing of the evidence, and the drawing of legitimate

inferences from the facts are jury functions, not those of a judge. The evidence of the

nonmovant is to be believed, and all justifiable inferences are to be drawn in his favor. Id. This

is the case even when the court has grave doubts about the statements of the opposing party. The

task of determining credibility is the exclusive domain of the jury. Greene v. Dalton, 164 F. 3d

671 (D.C. Cir. 1999).

                                              ARGUMENT
     Case 1:17-cv-02653-RDM Document 41 Filed 05/21/21 Page 2 of 7




       The District of Columbia Circuit has cautioned that judicial inquiry into the prima facie

case is usually misplaced. Brady v. Office of the Sergeant at Arms, 520 F. 3d 490 (D. C. Cir.

2008). “In a Title VII disparate-treatment suit where an employee has suffered an adverse

employment action and an employer has asserted a legitimate, non-discriminatory reason for the

decision, the district court need not — and should not — decide whether the plaintiff actually

made out a prima facie case under McDonnell Douglas. Rather, in considering an employer's

motion for summary judgment or judgment as a matter of law in those circumstances, the

district court must resolve one central question: Has the employee produced sufficient evidence

for a reasonable jury to find that the employer's asserted non-discriminatory reason was not the

actual reason and that the employer intentionally discriminated against the employee on the

basis of race, color, religion, sex, or national origin?” Id at 494. Here, Defendant claims that

there were no open positions to fill and there was no selection process. The “central question”

them becomes whether Plaintiff has produced sufficient evidence for a reasonable jury to find

that this asserted non-discriminatory reason was not the actual reason for the adverse

employment action and that Defendant intentionally discriminated against Plaintiff on the basis

of race, color, religion, sex, or national origin. In making this determination, as with all issues of

summary judgment, the court must view the evidence in the light most favorable to the non

moving party and draw all reasonable inferences in his favor; the court is not to make credibility

determinations. Holcolmb v. Powell, 433 F. 3d 889 (D.C. Cir. 2006). Plaintiff has produced

sufficient evidence.

       Defendant claims that there was no selection process associated with the senior editor

roles. Please see statement of facts in dispute, particularly No. 10. However, it is not necessary

                                                  2
     Case 1:17-cv-02653-RDM Document 41 Filed 05/21/21 Page 3 of 7




that Plaintiff was denied through a formal application process. Plaintiff has repeatedly sought a

senior editor position. ECF doc 33-5 pg. 1. Courts have generally held that the failure to

formally apply for a job opening will not bar a Title VII plaintiff from establishing a prima facie

claim of discriminatory hiring, as long as the plaintiff made every reasonable attempt to convey

his interest in the job to the employer. EEOC v. Metal Service Co., 892 F. 2d 341 (3rd Cir. 1990).

The District of Columbia Circuit has held that, when a position is not subject to a formal

selection process, it is sufficient for a prima facie case that a plaintiff express interest in the

position. Cones v. Shalala, 199 F. 3d 512 (D.C. Cir. 2000). Here, Plaintiff repeatedly expressed

interest in the senior editor position. He was denied that position.

       Defendant claims that the employees promoted to “senior editor” perform the same

duties they performed as “team leaders”, hence there was no open position for Plaintiff to be

promoted to. Further, defendant states that the four broadcasters Ahmad Sear Zia, Hafiz Assefi,

Roshan Noorzai and Hasib Alikozai were “team leaders” who were promoted to senior editor,

after the reconstruction. These individuals were later further promoted to GS13. At least one of

these individuals, Zia was promoted to GS13 in June of 2017, by defendant’s own admission.

SOF 13.

       Defendant would want this court of blindly believe that all these new positions, i.e. going

from team leader to senior editor and receiving GS13 within a few months, or in Ms. Lami’s

case, going from on air talent to an actual editor, are all “reassignments.” If that is the case,

whey did he not “reassign” Mr. Stanazai, a US citizen, who was and should have been

benchmarked to GS13 several years ago, nearly going back to 2010. It is also not clear why Ms.

Lami and Ms. Rozbih were interviewed for the positions and Mr. Stanazai was not. In fact, Ms.
                                                 3
     Case 1:17-cv-02653-RDM Document 41 Filed 05/21/21 Page 4 of 7




Lami was disqualified, she was not a US citizen. Further, these positions required changes to

schedules, promotions to GS13 and full management responsibility, and great potential for

growth. The fact that defendant wants this court to believe that Ms. Lami, was an editor before

the reconstruction and continued just the same, after the reconstruction, is simply not true. SOF

10. Also, it is misleading to the court that not one of these positions came with different level of

authority, management and promotion to GS13. SOF 13. In fact there were several positions to

fill during this reconstruction, these positions were competitive, they required interviews and

some were promoted, while others were at the GS13 already. The only procedure that Mr.

Ayazi did not include was an actual publication of the position, please see example of similar

positions, Mr. Stanazi had applied for and was not considered again as a form of retailation.

Exhibit 4.

       During this time of reconstruction, in creating two different divisions, Dari radio and

television and Pashto radio and television, before Mr. Ayazi’s announcement on October 7,

2016, Ms. Lami and Ms. Rozbih were aware that they were being considered and promoted. On

or around that time, Ms. Lami left her cubicle and moved into or started to occupy the office of

the managing editor. Mr. Stanazai was not aware of these events, as they were kept hushed and

secret until it was revealed by way of an email which claimed that the reconstruction did not

include “vacant management positions” this would seem accurate because all the new positions

had been promised and filled. There was a selection process that was not revealed until all the

positions were filled.

        It should be noted that Defendant has not put forth the actual job positions for the “team

leader” and “senior editor” position. They simply assert that the employees in the “senior editor”
                                                 4
     Case 1:17-cv-02653-RDM Document 41 Filed 05/21/21 Page 5 of 7




position have the same duties they did as “team leaders.” However, evidence has been put forth

to show that the “senior editor” position, which Plaintiff was denied, is different from the “team

leader” position. The promotions to “senior editor” were part of a general reorganization. Akbar

Ayazi claimed he “moved around GS-13 managers to better streamline the workflow of the

service and to improve the quality of the broadcast.” ECF doc 33-4 pg 23. In an email dated

October 7, 2016, Mr. Ayazi stated “In order to be able to run the complex multiple platforms

operation of the service, I have asked Ahmad Sear Zia and Hafiz Assefi to service [sic] as senior

editors of the Dari team and Roshan Noorzai and Hasib Alkiozai to serve as senior editors for

the Pashto team. All four editors will support Lina and Shiasta in leading the teams for creating

great content and assist them in the editorial process.” ECF doc 33-4 pg 32-33. This implies that

the “senior editor” position is a different position, with different duties and responsibilities, than

the “team leader” position. Further, in the context of a journalism organization such as

Defendant, “editor” implies some sort of senior position. Defendant is using word games to hide

that the “senior editor” position was a promotion, for which Plaintiff was qualified, and was

denied based on his membership in a protected class and as retaliation for his prior complaints

about being harassed due to his membership in a protected class. Defendant cannot defeat

summary judgment by merely stating that the “senior editor” position is identical to the “team

leader” position. This is inconsistent with prior descriptions of the “senior editor” position.

There is a genuine dispute as to a material fact that must be resolved by a jury.

       Defendant’s proffered reason for the adverse employment action it took against Plaintiff

are pretextual. The promotion of certain employees to “senior editor’ was more than a mere

change in job title. It was a change in job duties and responsibilities. Plaintiff has repeatedly

                                                  5
     Case 1:17-cv-02653-RDM Document 41 Filed 05/21/21 Page 6 of 7




expressed interest in the senior editor position. It is not necessary for Plaintiff to have

undertaken a formal application process where, by Defendant’s admission, there was no such

process. Plaintiff made every reasonable attempt to convey his interest in the senior editor

position.

          Mr. Stanazai has several times over, met his burden and has and will demonstrate to a

reasonable jury that the employer acted based on prohibited reasons and the actions by the

employer was retaliation in regard to the senior editor position.

          For the foregoing reasons, Defendant’s Motion for Summary Judgment should be

denied.




Dated: Washington, DC
          May 21, 2021
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                                      Certificate of Service

The above Opposition to Motion for Summary Judgement and all supporting documents
memorandum and statements, were served via electronic filing on the defendant’s attorneys.


                                                 6
     Case 1:17-cv-02653-RDM Document 41 Filed 05/21/21 Page 7 of 7




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                                     7
